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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

VICKI TIMPA, INDIVIDUALLY,                               §
AND AS REPRESENTATIVE OF                                 §
THE ESTATE OF ANTHONY                                    §
TIMPA, AND CHERYLL TIMPA                                 §
INDIVIDUALLY AS NEXT FRIEND                              §            CIVIL ACTION NO.
OF K.T., A MINOR CHILD,                                  §
             Plaintiffs,                                 §            3:16-CV-03089-N
                                                         §
v.                                                       §
                                                         §
THE CITY OF DALLAS, JOHN DOE #1-                         §
3, LONE STARR MULTI-THEATRES,                            §
LTD D/B/A NEW FINE ARTS, JOHN                            §
DOE #4, AND JOHN DOES #5,                                §
           Defendants.                                   §

                MOVANT CITY OF DALLAS’S MOTION FOR ENTRY OF
              DISCOVERY PROTECTIVE ORDER, AND BRIEF IN SUPPORT

TO THE HONORABLE COURT:

         Movant, City of Dallas (“the City”), pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure and the Court’s Scheduling Order (doc. 19), files this motion for entry of a discovery

protective order. The proposed protective order will be submitted separately to the Court in

Word format as a proposed order. All parties have agreed to the terms of the proposed protective

order.

         The proposed protective order is essentially the Court’s standard form.               A single

modification to the Court’s standard form was made in the deletion of subsection 14(e) on page 9

because the City no longer is a party.

         WHEREFORE, the City requests the Court accept and enter the proposed protective

order, and grant the City all other relief to which the City is entitled, consistent with this motion.




Movant City of Dallas’s Motion for Entry of Protective Order, and Brief in Support
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                                                    Respectfully submitted,

                                                    CITY ATTORNEY OF THE CITY OF DALLAS

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                                                    City Attorney

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                                                    ATTORNEYS FOR THE MOVANT CITY OF DALLAS

                                  CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that he conferred with counsel for all parties and was
advised by Mr. Henley and Mr. Nelson that they and their clients agreed to the terms of the
proposed protective order.

                                                               s/ James C. Butt
                                                             Assistant City Attorney




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                                     CERTIFICATE OF SERVICE

        I certify that on April 7, 2017, I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorney of record who has consented in writing to accept this Notice as service
of this document by electronic means:

VIA ECF
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                                                               s/ James C. Butt
                                                             Assistant City Attorney




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